         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3332
                 LT Case No. 2023-301152-CFDB
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LISA ROSE LANGE,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Volusia County.
Raul A. Zambrano, Judge.

Matthew J. Metz, Public Defender, and John M. Selden,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Kristen L.
Davenport, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 20, 2024


PER CURIAM.

   AFFIRMED. See Butler v. State, 901 So. 2d 922, 924 (Fla. 2d
DCA 2005).


LAMBERT, EISNAUGLE, and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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